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      Case Information
      County:        -0-
      Case Number: CV-20706/21
      Court:         U.S. District Court, District Of Nj
      Plaintiff:     JOHN DOE
      Defendant:     BAILE SEBROW
      Date Filed:    12/28/2021


      Job Number Reference To Serve On                    Completed   Type of Service Date Invoiced            Total
      2022000690                     SEBROW,            Apr 27 2022   NAIL AND MAIL May 5 2022        $55.95
                                     BAILE              7:12PM                      1:27PM
                                                                                                      Total Charged: $55.95




https://www.pstprostatus.net/asp/JobListByCase.aspx?id=39256                                                             Page 1 of 1
